






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00537-CR






Alvin Christopher Stewart, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9024132, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Alvin Christopher Stewart guilty of manslaughter and
aggravated robbery, for which it assessed prison terms of twenty and sixty-five years.  Appellant's
court-appointed attorney filed a brief concluding that the appeal is frivolous and without merit.  The
brief meets the requirements of Anders v. California, 386 U.S. 738 (1967), by presenting a
professional evaluation of the record demonstrating why there are no arguable grounds to be
advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d
553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy of
counsel's brief was delivered to appellant, and appellant was advised of his right to examine the
appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgments of conviction are affirmed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Affirmed

Filed:   October 16, 2003

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